From: Paul Edalat <paul@sentarpharma.com>
Subject: Kinghill v the world
Date: June 18, 2016 at 4:21:47 PM MDT
To: brucec@centaursales.com, shane@trivasconsulting.com, Ron Franco <kingron@aol.com>,
greg@harvardinvestmentgroup.com, lesliew@centaursales.com, lweima.patch@together.net

This is just the start. Wait till mine is filed. Then chads rics etc.
Now continue going around telling people how u r going to take me down
! Go ahead.

Mountains of evidence against all of u. Including u Shane. Told u
watch the people around u who seem to be your friends. They are not.
Did you really think u r going to get away with all of this? Stealing
my company suing my family and putting all of that bs out there
against me?
Calling me a fraud? Fuck u thieves and the real frauds.
Wait till u see everything and who I will sue.

And old "buddy" Bruce next time watch who u tell:
"I am going to take Paul down at whatever expense" be careful of who u
say it to lol

And Franco u scum u sued me for what? I don't even know u and u never
even gave me a penny. Watch how I will expose u and your life for
what u did. U think it's not obvious what u do in Thailand?think
these guys are going to protect u when they have to protect themselves
from the litigation ? Hahaha

Lastly Greg....well just wait till u see what I will file by Friday of
next week. Of course all with evidence and exhibits.

Have a nice weekend u bastards. Now let's see who is laughing.

Happy Father's Day to all of u!
Try to enjoy with your wives and kids before they are all served with
the copy of this lawsuit and the rest.




                                                                          Exhibit D
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